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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1261V
                                          UNPUBLISHED


    BONNIE CUSHMAN,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: May 19, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Jennifer Leigh Reynaud, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION1

        On August 22, 2019, Bonnie Cushman filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered right shoulder injuries related to
vaccine administration (SIRVA). Petition at 1; Stipulation, filed at May 19, 2022, ¶¶ 1-2.
Petitioner further alleges the vaccine was administered within the United States, that her
right shoulder injuries and sequelae lasted more than six months, and neither she, nor
any other party, has ever filed any action for Petitioner’s vaccine-related injury. Petition
at 1, 3-4; Stipulation at ¶¶ 3-5. “Respondent denies [P]etitioner sustained a SIRVA Table
injury; denies that the vaccine caused [P]etitioner’s alleged shoulder injury, or any other
injury; and denies that her current condition is a sequelae of a vaccine-related injury.”
Stipulation at ¶ 6.



1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Nevertheless, on May 19, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $62,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS


BONNIE CUSHMAN.

                 Petitioner,                            No. 19-1261V
 V.                                                     Chief Special Master Corcoran
                                                        ECF
 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                 Respondent.


                                            STIPULATION

       The parties hereby stipulate to the following matters:

        1. Petitioner Bonnie Cushman ("petitioner") filed a petition for vaccine compensation

under the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the

"Vaccine Program''). The petition seeks compensation for injuries allegedly related to

petitioner's receipt of the influenza ("flu") vaccine, which vaccine is contained in the Vaccine

Injury Table (the '·Table'"), 42 C.F.R. § I 00.3 (a).

        2. Petitioner received a :flu vaccine on or about October 6, 2017.

        3. The vaccine was administered within the United States.

        4. Petitioner alleges that she sustained a shoulder injury related to vaccine administration

("SIRVA") within the time period set forth in the Table. She further alleges that she experienced

the residual effects of this condition for more thun six months.

        5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages as a result of her condition.
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        6. Respondent denies that petitioner sustained a SIRVA Table injury; denies that the

vaccine caused petitioner's alleged shoulder injury, or any other injury; and denies that her

current condition is a sequelae of a vaccine-related injury.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-2 l(a)( 1), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

        A lump sum of $62,000.00, in the form of a check payable to petitioner. This
        amount represents compensation for all damages that would be available under 42
        U.S.C. § 300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-21 (a)( 1), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' foes and costs incurred in proceeding upon this

petition.

        I0. Petitioner and her attorney represent that they have identified to respondent all known

sources of payment for items or services for which the Program is not primarily liable under 42

U.S.C. § 300aa-15(g), including State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C. § 1396

et seq.)). or entities that provide health services on a pre-paid basis.




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        11 . Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

to the availability of sufficient statutory funds.

        12. The panies and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs and past unreimbursablc expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa- l 5(g) and (h ).

        13 . In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands of

whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C.     *300aa-10 ct seq., on account of, or in any way growing out of, any and all
known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on or about October 6,

2017, as alleged by petitioner in a petition for vaccine compensation filed on or about August 22,

2019, in the United States Court of Federal Claims as petition No. 19-126 l V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.




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        15 . If the special master fails to issue a decision in complete conformity with the terms of

this Stipulation or if the Court of Federal Claims fails to enter judgment in confonnity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        I 6. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

pm1ies hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged shoulder

injury or any other injury or her current condition.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                      END OF STIPULATION
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Respectfully submitted,

PETITIONER:




ATTORNEY OF RECORD FOR                                      AUTHORIZED REPRESENTATIVE
PETITIONER:                                                 OF THE ATTORNEY GENERAL:




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AUTHORIZED REPRESENT ATlVE                                  ATTORNEY OF RECORD FOR
OF THE SECRETARY OF HEALTH                                  RESPONDENT:
AND HUMA~ SERVICES:
                       Digit.illy signed by George R.
 George R.             Grimes -S14
                       Date: 2022.03.1O 15:57:55
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Dated: Oi lo'-1   lw-z.2
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